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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

STATE OF MISSOURI, et al.,                            )
                                                      )
                Plaintiffs,                           )
                                                      )
          vs.                                         )       Case No. 4:21-cv-01329-MTS
                                                      )
JOSEPH R. BIDEN, JR., in his official capacity )
as the President of the United States of America,     )
et al.,                                               )
                Defendants.                           )

                                                ORDER

           IT IS HEREBY ORDERED that Defendants’ Consent Motion for Extension of Time,

Doc. [75], is GRANTED. Defendants shall file any required response to Plaintiffs’ First Amended

Complaint no later than Friday, January 20, 2023. If Defendants file any Motion(s) to Dismiss,

Plaintiffs shall file their opposition no later than Wednesday, February 15, 2023, and Defendants

may file any Reply no later than Friday, March 10, 2023.

           Dated this 27th day of December 2022.




                                                    MATTHEW T. SCHELP
                                                    UNITED STATES DISTRICT JUDGE
